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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                               §
                                     §              Case No. 20-30967 (MI)
Watson Grinding and Manufacturing Co §
                                     §
                                     §              Chapter 11
DEBTOR.                              §

                  NOTICE OF RESET FIRST MEETING OF CREDITORS

      YOUR ARE HEREBY NOTIFIED that the meeting of creditors scheduled for April 9,

2020, has been reset to APRIL 23, 2020, at 9:30 a.m. Any party wishing to participate may call

1-866-707-5468, then enter the Participant Code 6166997 followed by the pound or hashtag

symbol - #.     No other deadlines or provisions described in the Official Form 309 Notice of

Chapter 11 Bankruptcy Case are changed by this notice, and all such deadlines and provisions

remain in full effect.


Dated: April 8, 2020                           HENRY G. HOBBS, JR.
                                               Acting United States Trustee Region 7
                                               Southern and Western Districts of Texas

                                               By: /s/ Stephen D. Statham
                                               Stephen D. Statham
                                               Trial Attorney
                                               Texas Bar No.19082500
                                               Office of the United States Trustee
                                               515 Rusk Avenue, Suite 3516
                                               Houston, TX 77002
                                               (713) 718-4650 Ext 252
                                               (713) 718-4670 Fax
                                               stephen.statham@usdoj.gov
